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 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                     (San José Division)
11

12    GREG BERGEN, et al.,                             )       Case No.: 5:09-CV-01090-PVT
                                                       )
13                       Plaintiffs,                   )
                                                       )       EX-PARTE AMENDED PETITION FOR
14                                                     )       APPROVAL OF MINOR’S
      vs.                                              )       COMPROMISE OF CLAIMS
15                                                     )
                                                       )
16    COUNTY OF SAN BENITO, et al.,                    )
                                                       )
17                                                     )
                          Defendants.                  )
18                                                     )
                                                       )
19                                                     )
                                                       )
20                                                     )

21
      I.      Basis for Ex-Parte Amended Petition
22
              As mentioned in the original Petition, the passage of time between filing and approval
23

24
      of a Petition for Minors’ Compromise of Claims can lead to decreased future payouts to the

25    minor Plaintiffs, due to declining interest rates in the currently floundering economy. That
26
      possibility has become a reality in this case.
27

28                                                         1
     Ex Parte Amended Petition for
     Approval of Minor’s Compromise
     Bergen v. County of San Benito
     U.S. District Court – Northern District
     Case No. 5:09-CV-01090-PVT
               Case 5:09-cv-01090-PVT Document 7 Filed 05/05/09 Page 2 of 3



 1            The original Petition amounts were based on quotes that expired April 30th, 2009. The
 2
      revised quotes, which are set for a purchase date of June 15th, 2009 at the latest, provide for
 3
      slightly lower payouts to the minor Plaintiffs. The revised quotes (attached hereto as Exhibit
 4

 5    A, redacted to conceal the names of the minors, leaving only their initials visible) are attached

 6    to the Declaration of Dennis R. Ingols submitted herewith.
 7
      II.     Revised Quote
 8
             Due to declining interest rates, the amount of the semi-annual payments that each
 9
      minor Plaintiff will receive, beginning on his or her 18th birthday, will decrease from $9,200
10

11    to $9,130. All other information, as to amounts paid into the annuities, and the overall

12    distribution between adult Plaintiffs and minor Plaintiffs, and attorney’s fees payable to
13
      Plaintiffs’ counsel for representation of the adult and minor Plaintiffs is the same as described
14
      in the original Petition and supporting declaration (Docket #5, 5-2, 6 and 6-2), and is
15
      incorporated herein by reference.
16

17    VI.    Conclusion
18           Plaintiffs and their counsel request the Court approve the distribution of proceeds of
19
      settlement as set forth in the original Petition and supporting declaration, except as amended
20
      herein, without a hearing.
21

22
             Plaintiffs further ask that, in the event that the Court is not able to rule on this

23    Amended Petition in time for the annuities to be funded by the June 15th deadline, that the
24
      Court allow for a margin of 5% change, up or down, in the future payout amounts to be paid
25
      to the minor Plaintiffs without requiring additional court filings or hearing in the event that it
26

27

28                                                      2
     Ex Parte Amended Petition for
     Approval of Minor’s Compromise
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                Case 5:09-cv-01090-PVT Document 7 Filed 05/05/09 Page 3 of 3



 1    again becomes necessary to re-quote the future payments to be received by the minor
 2
      Plaintiffs.
 3
             Plaintiffs have submitted an amended proposed order in this regard and respectfully
 4

 5    request the Court’s signature thereon, and filing thereof.

 6
      Date: 5/4/09                                           /S/ Dennis R. Ingols
 7
                                                          Dennis R. Ingols, Esq.
 8                                                        Attorney for Plaintiffs

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     Ex Parte Amended Petition for
     Approval of Minor’s Compromise
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